 1                                                            The Honorable Richard A. Jones

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 8                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 9                                  AT SEATTLE
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     E.L.A. and O.L.C.,                              Case No. 2:20-cv-1524
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                       Plaintiffs,
12                                                   [PROPOSED] ORDER GRANTING
                  v.                                 PLAINTIFFS’ MOTION TO
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                                                     PROCEED UNDER PSEUDONYMS
14   UNITED STATES OF AMERICA,                       AND FOR PROTECTIVE ORDER

15                     Defendant.

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17        Upon consideration of Plaintiffs’ Motion to Proceed Under Pseudonyms and for

18 Protective Order, and good cause appearing therefore, the motion is GRANTED, and IT

19 IS FURTHER ORDERED that:

20        (a)   the parties shall refer to Plaintiffs by the pseudonyms “E.L.A.” and

21              “O.L.C.” in all filings and public proceedings;
22        (b)   the parties shall redact all personally identifying information, including
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                Plaintiffs’ true full name and initials, from all filings consistent with
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 1            Federal Rule of Civil Procedure 5.2;

 2      (c)   Defendant is prohibited from disclosing Plaintiffs’ identity to any nonparty
 3            unless such disclosure is reasonably necessary to litigate this action;
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        (d)   Defendant shall provide a copy of the order issued to any nonparty who
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              Defendant informs of Plaintiffs’ identity; and
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        (e)   Defendant is prohibited from using any information concerning Plaintiffs
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              obtained in connection with this lawsuit, including but not limited to
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              Plaintiffs’ true name, for any purpose other than this litigation.
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10   DATED this 21st day of April, 2021.

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                                                  The Honorable Richard A. Jones
13                                                United States District Judge

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